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            Exhibit D
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                              DEPARTMENT OF THE AIR FORCE
                          H E A D Q U A RT E R S U N r T E D S TAT E S A I R F O R C E
                                            WASHINGTON DC DEC 0 2 2021




M E M O R A N D U M F O R C A P TA I N D A N I E L W. K N I C K

FROM: HQUSAF/SG
          1780 Air Force Pentagon
          Washington, DC 20330-1780

SUBJECT: Decision on Religious Accommodation Appeal

        Your final appeal is denied. In accordance with Department of the Air Force Instruction
(DAFI) 52-201, Religious Freedom in the Department of the Air Force, paragraph 3.2,1 have
carefully reviewed your request for religious accommodation, specifically for an exemption from
the COVID-19, Influenza, and all other immunizations.

        The Department of the Air Force has a compelling government interest in requiring you
to comply with the COVID-19 and Influenza immunization requirements because preventing the
spread of disease among the force is vital to mission accomplishment. Specifically, in light of
your circumstances, your present duty assignment requires intermittent to frequent contact with
others and is not fully achievable via telework or with adequate distancing. We must be able to
leverage our forces on short notice as evidenced by recent worldwide events. Your health status
as a non-immunized individual in this dynamic environment, and aggregated with other non-
immunized individuals in steady state operations, would place health and safety, unit cohesion,
and readiness at risk. Foregoing the above immunization requirements would have a real
adverse impact on military readiness and public health and s^ety. There are no less restrictive
means available in your circumstance as effective as receiving the above immunizations in
furthering these compelling government interests.

       You are currently mandated to complete only the COVID-19 and Influenza
immunizations, therefore the remainder of your request is denied. If more vaccines become
tasked in the future, you may submit a new religious accommodation request to permit
assessment of the pertinent readiness and other compelling government interests at that time.

       A copy of this decision memorandum will be placed in your automated personnel
records. Please contact your unit leadership for questions or concerns.




                                                       Lieutenant General, USAF, MC, SFS
                                                       Surgeon acnerul
